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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

IN RE META PIXEL HEALTHCARE
LITIGATION

This Document Relates To:

Case No. 3:22-cv-3580-WHO (Doe)

Case No. 3:22-cv-3580-WHO
PUTATIVE CLASS ACTION

DECLARATION OF TOBIAS
WOOLDRIDGE IN SUPPORT OF
DEFENDANT META PLATFORMS, INC.’S
OPPOSITION TO PLAINTIFFS’ MOTION
FOR PRELIMINARY INJUNCTION

[Declaration of Abigail Barrera and [Proposed]
Order filed concurrently herewith]

Action Filed: June 17, 2022
Honorable Judge William H. Orrick

DECLARATION OF TOBIAS WOOLDRIDGE IN SUPPORT OF DEFENDANT META PLATFORMS, INC.’S
OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION — CASE NO. 3:22-CV-3580-WHO

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I, Tobias Wooldridge, hereby declare and state:
1. I am a software engineer at Meta. I offer this declaration in support of Meta’s

Opposition to Plaintiff's Motion for Preliminary Injunction. The following facts are based on my own

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personal knowledge, unless otherwise indicated, and, if called and sworn as a witness, I could and

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would testify competently to them.
My Background And Work At Meta

2. I have worked at Meta as a software engineer since February 2015. I am a senior

engineer on the Signals team, which bears primary responsibility for maintaining and updating the

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Meta Pixel code. My team is also responsible for maintaining and implementing Meta’s systems that
10 || detect and filter potentially sensitive data being sent by third-party developers to Meta via the Meta
11 || Pixel, among other Business Tools. I have worked on the Signals team since April 2017.

12 || Meta Prohibits Developers From Sending Health Information Through Its Pixel Tool

13 3. Meta’s Pixel is a free, publicly available piece of code that third-party website
14 || developers can choose to install and use on their websites to measure certain actions taken on their own
15 || websites. Meta’s Pixel is available to and used by website developers across industries. Other
16 || companies offer their own pixel tools.

17 4. Specifically, when someone takes an action a developer chooses to track on their
18 || website (like subscribing to email updates), the Meta Pixel is triggered and sends Meta certain data,
19 || called an “Event.” Meta attempts to match the Events it receives to Meta users (Meta cannot match
20 || non-Meta users). The developer can then create “Custom Audiences” based on Events and can target
21 || ads on Facebook, Instagram, and publishers within Meta’s Audience Network to Meta users who have
22 || taken certain actions on their own website. Meta can also provide the developer with de-identified,
23 || aggregated reporting that helps the developer better understand the impact of its ads by measuring what
24 || happens when people see them. The identity of matched Meta users is never revealed to the developer
25 || or to any advertiser.

26 5. Meta does not want or permit developers to transmit sensitive information, including
27 || health information, to it through the Pixel tool. Meta takes numerous measures to prevent the

28 || transmission and receipt of that information.

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] 6. First, Meta requires all developers to agree to its Business Tools Terms before they
2 || can obtain a Pixel ID and utilize Meta Pixel code in a website. The Business Tools Terms expressly
3 || prohibit developers from sending Meta health or otherwise sensitive information (including any
4 || information defined as sensitive under applicable law) and require developers to warrant that they have
5 || the legal right to share any information they choose to share with Meta. Developers must also accept
6 || Meta’s Commercial Terms before using Meta for a business purpose, which similarly prohibit sending
7 || Meta health or otherwise sensitive information.

8 7. Second, during the Meta Pixel ID creation process—a necessary step to install and use
9 || the Meta Pixel—Meta reminds developers not to send Meta sensitive user data, linking to the Business
10 |} Tools Terms and to Meta’s Business Help Center content about restricted data (“About Restricted Meta
11 |} Business Tools Data”). Attached as Exhibit 1 is a true and correct copy of the article entitled “About
12 || Restricted Meta Business Tools Data,” downloaded from the Meta Business Help Center on October
13 |} 13,2022. Meta has published several additional Business Help Center articles that explain and give
14 || examples of the kinds of information (including health information) that developers should not send to
15 || Meta, provide steps developers can take to avoid sending such information, and describe how to address
16 || instances in which sensitive information may have been sent.

17 8. Third, in addition to requiring developers to agree not to send Meta any information
18 || they do not have the legal right to share, Meta developed and implemented a filtering mechanism to
19 || screen out potentially sensitive data it detects. Meta developed the filter to detect data sent through the
20 || Pixel (as well as other Business Tools) that it categorizes as potentially sensitive data, including health
21 || data, and the filter prevents that detected data from being ingested into Meta’s ads ranking and

22 || optimization systems. ee

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27 9. When Meta’s systems detect and filter out data they categorize as potentially sensitive,

28 || Meta sends notifications to the developer (1) via email and (2) in two locations in Meta’s developer

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dashboard, Events Manager. These notifications inform the developer that Meta detected and blocked
data that may not comply with Meta’s terms; confirm that the removal may affect ad performance; and
provide details about the affected data, including the URL where the events occurred, the location (but

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not the contents) of the potentially violating information, steps the developer can take to address the

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issue, and an email address to contact with questions.
Meta Users Consent To Meta’s Use Of Pixel Data And Can Control And Disconnect Their Off-

Facebook Activity
10. Meta discloses to users that it receives data from third parties, including data sent via

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the Pixel tool, and provides several ways for its users to review and control Meta’s use of that data.
10 || The Data Policy, to which all users of Meta services must agree, explains that Meta may receive
11 || information about users’ activities off the Meta services, including from developers that use the Meta
12 || Business Tools, including the Meta Pixel. The Data Policy also discloses how Meta uses such data,
13 || including by providing measurement, analytics, and other business services. Meta users also must
14 || agree to the Terms of Service and Cookies Policy, which disclose that their personal data can be used
15 || to provide targeted ads.

16 11. Metaalso enables its users to review a summary of information Meta has received about
17 || their activity from third parties, including through the Pixel, and to disconnect that data from their
18 || account. Specifically, using the Off-Facebook Activity tool, which is linked to in the Data Policy and
19 || accessible via other entry points, Meta users can control or disconnect the off-Facebook activity that
20 || has been associated with their Facebook account, subject to some exceptions for security and safety
21 || needs. Meta users can disconnect historical third-party activity data from their account using the “Clear
22 || previous history” option. They can also “turn off’ storage of future connections between their
23 || Facebook account and their activities off Facebook using the “Disconnect Future Activity” option.
24 || Meta users can make this choice for all third-party websites or on a website-by-website basis.

25 12. ‘In addition, Meta provides other privacy tools and resources to users of the Meta
26 || services that allow them to control how data shared by third parties can be used to show them relevant
27 || ads. Specifically, the “Data About Your Activity From Partners” tool within Meta’s “Ad Settings”

28 || allows users to opt out of receiving personalized advertisements based on their activity on third-party

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1 || websites, apps, or offline, among other things.

2 13. Additional tools Meta provides to its users, which enable them to control
3 || advertisements they receive, include the following:
4

e Hide ad: Users can hide individual advertisements appearing in their News Feed.

5 e Report ad: Users can report advertisements in their News Feed if they consider them
6 to be inappropriate—for example, due to containing spam, false news, or being
7 misleading or sexually inappropriate.
8 e Hide advertiser: Users can hide all advertisements from a specific developer altogether
9 via their Ad Preferences.
10 e Limit ad topics: Users can limit advertisements about topics such as alcohol, parenting,
11 pets, social issues, and elections or politics, and advertisers cannot target the user based
12 on an interest in that topic.
13 I declare under penalty of perjury that the foregoing is true and correct, and that I executed this

. 17 . Adelaide, South Australi
14 || Declaration on October —_, 2022, in oneness 208 ustrane

16 Tobias Wooldridge

Tobias Wooldridge

Gibson, Dunn & 4

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Exhibit 1

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At Meta, we have policies around the kinds of information businesses can share with us. We don’t want
websites or apps sending us sensitive information about people.

Business Tools Data is data sent from advertisers to Meta in connection with advertising, matching, measurement
and analytics, including through the use of Business Tools, Social Plugins, Login, and certain APIs. Meta's Business
Tools Terms outline the type of data that advertisers should not send to Meta via any of the Meta Business Tools.

Specifically, advertisers should not share Business Tools Data with Meta that they know or reasonably should know
is either from or about children under the age of 13, or includes health or financial information, or other categories of
sensitive information. This includes any information defined as sensitive under applicable laws, regulations and
applicable industry guidelines.

Advertisers may use the Meta Business Tools to send to Meta information that personally identifies individuals
(referred to as Contact Information), such as names, email addresses, and phone numbers, to help Meta match the
data advertisers share with Meta user accounts. However, such Contact Information must be hashed in a manner
specified by Meta before transmission, when using a Meta image Pixel or other Meta Business Tools. Visit Meta for
Developers for hashing instructions.

Use the Learn More section below for further guidance on certain types of sensitive Business Tools Data prohibited
under Meta’s Business Tools Terms.

If you receive a notification that you're violating Meta’s Business Tools data policies, learn how to troubleshoot the
issue.

Learn more

https:/Avww.facebook.com/business/help/10570165214369667id=188852726 110565
